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AO 91 (Rev. 11/11) Criminal Complaint



                                                   UNITED STATES DISTRICT COURT
                                                                                                    for the
                                                                                       District of Columbia
                      United St.at.es of America                                                        )
                                   V.                                                                   )
                                                                                                        )           Case No.
                        Anthony Mastanduno
                                                                                                        )
                         DOB:XXXXXX                                                                     )
                                                                                                        )
                                                                                                        )
                                   Defendant(s)


                                                                        CRIMINAL COMPLAINT
            I, the complainant. in this case, state that the following is trne to the best of my knowledge and belief.
On or about the date(s) of                                        January 6, 2021                                  in the county of ------------- in the
                                  in the Distiict of                     Columbia                 , the defendant(s) violated:
               Code Section                                                                                             Offense Description
         18 USC §§lll(a)(l) and b- To forcibly assault, resist, oppose, impede, intimidate, or intenere with certain designated individuals, and to use adeadlyor dangerous weapon or inflict bodily
        injwydnring the commission of such acts,
         18 USC § 1752(a)(l) - Knowingly Entering or Remaining in any Restricted Building or Grounds Without Lawful Authority,
         18 USC § 1752(a)(2) - Knowingly, and with intent to impede or disrupt the orderly condnct of Government business or official functions, engage in disorderly or disruptive conduct in, or
        within such proximityto, anyrestricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the orderlyconduct ofGovernment business or official functions; or
         attempts or conspires to do so ,
         18 USC § 1752(a)(4) - Knowingly engage in any act of physical violence against anyperson or property in anyrestricted building or grounds,
        40 USC § 5104(e)(2)(D)- To utter loud, threatening, or abusive language, or engage in disorderlyor disruptive conduct, at any place in the Grounds or in anyof the C apitol Buildings with
        the intent to impede, disrupt, or disttub the orderly conduct of a session ofCongress or either House of Congress, or the orderlyconduct in that building of a hearing before, or any
        deliberations of, a committee of Congress or either House ofCongress,
        40 USC § 5104(e)(2)(F)- To engage in any act of physical violence in the Grounds or anyoftheC apitolBuildings,
        40 USC § 5104(e)(2)(G)-To parade, demonstrate, or picket in a C apitolBuilding,
         18 USC § 2 3 l(a)(3)- unlawful to commit any act to obstruct, impede, or intenere with any fireman or law enforcement officer lawfully engaged in the lawful performance of his official
        duties incident to and during the commission of a civil disorder which in any way or degree obstructs, delays, or adversely affects commerce or the movement of any article or commodityin
        commerce or the conduct or performance of anyfederally protected function., operation., or action carried out

           This criminal complaint is based on these facts:
  See attached statement of facts.



          N Continued on the attached sheet.


                                                                                                                                                    Complainant's signature




Attested to by the applicant in accordance with the requirements of Fed. R. C1im. P. 4.1
by telephone.

Date:                 08/17/2023
                                                                                                                                                        Judge's signature

City and state:                                     Washington, D.C.                                                      Moxila A. Upadhyaya, U.S. Magistrate Judge
                                                                                                                                                     Printed name and title
